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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

                         Case No.: 12-CV-80447-RYSKAMP/HOPKINS


  SUZETTE GUILLAUME,

         Plaintiff,

  v.

  SELECT MEDICAL CORPORATION et al.,

         Defendants.
                               /

       ORDER GRANTING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

         THIS CAUSE comes before the Court on Defendants’ motion for summary judgment

  [DE 42] filed on July 22, 2013. Plaintiff filed a response in opposition [DE 47] on August 19,

  2013. Defendants replied [DE 57] on August 29, 2013. A hearing was held on the motion on

  September 12, 2013. This motion is ripe for adjudication.

  I.     Background

         Plaintiff Suzette Guillaume (“Plaintiff”) brings this action for unpaid overtime

  compensation under the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq. (“FLSA”). She

  claims Defendants Select Medical Corporation and Select Employment Services, Inc.

  (collectively, “Defendants”) failed to pay her for time worked during unpaid meal breaks.

  Defendants maintains that Plaintiff fails to demonstrate (1) she performed overtime work for

  which she was not paid and (2) Defendants had actual or constructive knowledge that she

  worked meal breaks without pay.




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          Plaintiff was a nurse for Defendants from November 2009 to April 2011. She worked

  predominantly on the night shift between the hours of 7:00 p.m. and 7:30 a.m. Due to the nature

  of her job, she did not have a regularly scheduled meal break. Rather, Defendants automatically

  deducted 30 minutes from each full shift as an unpaid meal break. If Plaintiff worked through

  her meal break, she was required to obtain approval from her supervisor and complete a Time

  Clock Adjustment Form (the “Form”) to be compensated for her time worked.                                Plaintiff

  completed the Form on twelve different occasions to adjust for time worked at the beginning or

  end of a shift. She did not submit the Form for missed meal breaks, however.

          At her orientation, Plaintiff was shown a Power Point presentation regarding the meal

  break policy and received a copy of Defendants’ employee handbook.                           The Power Point

  presentation pertaining to the meal break policy stated:

          Meal Breaks
          The system auto deducts 30 minutes are 6 hours for the first meal break.
          The system auto deducts an additional 30 min after 14 ½ hours for second meal
          Must clock out when leaving the unit for meal break
          When work load prevents you from taking a meal break, submit a manual
          exception slip so no deduction is taken
          If clinical staff’s meal break is interrupted by business demands, either the entire
          30 minutes will be paid or an additional 30 minute break will be given1

  The employee handbook contained a section pertaining to “Meal Breaks,” and referred

  employees to the Select Medical Human Resources Policies and Procedures Manual (the

  “Manual”). Copies of the Manual were available throughout Defendants’ hospital and on the

  intranet. In pertinent part, the Manual stated

          The clock is programmed to deduct a 30-minute meal break after an employee
          works at least 6 hours into their shift. A second 30-minute meal break will be
          deducted if the employee works a shift beyond 13.5 hours. . . . An authorized “no

          1
            In a post-deposition declaration, Plaintiff testified she was not shown any presentation regarding a meal
  break. As discussed below, the statements made in Plaintiff’s declaration are inherently contradictory to her
  deposition testimony, and as such, her declaration is stricken.


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         meal break” or extended meal break requires prior approval and an adjustment to
         be made by the employee’s supervisor.

  Plaintiff signed a document stating she understood the meal break policy and that she could only

  work through her lunchtime with prior approval from a supervisor.

         Plaintiff contends she never took a meal break in her eighteen months of employment.

  She claims she was never paid for the 30 minutes deducted during each shift. Despite her

  attendance at orientation and her signature averring she understood the meal break policy,

  Plaintiff claims she did not submit the Form for missed meal breaks because she did not know

  that it was required. Plaintiff knew that she should be paid for the time worked during meal

  breaks, but she never contacted a supervisor or human resources to complain about not being

  compensated. Defendants now move for summary judgment on Plaintiff’s claim.

  II.    Legal Standard for Summary Judgment

         “The court shall grant summary judgment if the movant shows that there is no genuine

  dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

  R. Civ. P. 56(a). The movant “always bears the initial responsibility of informing the district

  court of the basis for its motion, and identifying those portions of ‘the pleadings, depositions,

  answers to interrogatories, and admissions on file, together with the affidavits, if any,’ which it

  believes demonstrate the absence of a genuine issue of material fact.” Celotex Corp. v. Catrett,

  477 U.S. 317, 323 (1986) (quoting Fed. R. Civ. P. 56(c)(1)(A)). Where the non-moving party

  bears the burden of proof on an issue at trial, the movant may simply “[point] out to the district

  court that there is an absence of evidence to support the nonmoving party’s case.” Id. at 325.

         After the movant has met its burden under Rule 56(c), the burden shifts to the non-

  moving party to establish that there is a genuine issue of material fact. Matsushita Elec. Indus.

  Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 585 (1986). Although all reasonable inferences


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  are to be drawn in favor of the non-moving party, Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

  255 (1986), he “must do more than simply show that there is some metaphysical doubt as to the

  material facts.” Matsushita, 475 U.S. at 586. The non-moving party may not rest upon the mere

  allegations or denials of the adverse party’s pleadings, but instead must come forward with

  “specific facts showing that there is a genuine issue for trial.” Id. at 587 (citing Fed. R. Civ. P.

  56(e)). “Where the record taken as a whole could not lead a rational trier of fact to find for the

  non-moving party, there is no ‘genuine issue for trial.’” Id. “A mere ‘scintilla’ of evidence

  supporting the opposing party’s position will not suffice; there must be enough of a showing that

  the jury could reasonably find for that party.” Walker v. Darby, 911 F.2d 1573, 1577 (11th Cir.

  1990). If the non-moving party fails to make a sufficient showing on an essential element of his

  case on which he has the burden of proof, the moving party is entitled to a judgment as a matter

  of law. Celotex Corp., 477 U.S. at 323.

  III.   Discussion

         Under the FLSA, an employer may not employ his employee for a workweek longer than

  forty hours unless his employee receives overtime compensation at a rate not less than one and a

  half times his regular rate. 29 U.S.C. § 207(a)(1). Plaintiff is arguing she performed ‘work’

  during mealtimes; therefore, she is arguing she did not receive overtime compensation in

  violation of the FLSA. See Hertz v. Woodbury Cnty., 566 F.3d 755, 783 (8th Cir. 2009) (“The

  gravamen of Plaintiffs’ complaint is that they performed ‘work’ during mealtimes, [they are

  essentially arguing] that the work amounted to overtime because it was in addition to their

  already-scheduled,    eight-hour   shift,   and   the   work    during   these   mealtimes     went

  uncompensated.”).




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          To recover on a claim for unpaid overtime wages, a plaintiff must prove she was suffered

  or permitted to work without compensation. 29 U.S.C. § 201 et seq. “Courts have interpreted

  this to mean that a FLSA plaintiff must demonstrate that (1) he or she worked overtime without

  compensation and (2) the [employer] knew or should have known of the overtime work.” Allen

  v. Bd. of Pub. Educ. for Bibb Cnty., 495 F.3d 1306, 1314–15 (11th Cir. 2007); see also 29 C.F.R.

  § 785.11 (interpreting the “suffer or permit to work” requirement to mean that an employer

  violates the FLSA when it “knows or has reason to believe that he is continuing to work and the

  time is working time.”). Thus, Defendants are entitled to summary judgment unless Plaintiff can

  demonstrate by a preponderance of the evidence that she worked through meal breaks without

  compensation and Defendants had knowledge, actual or constructive, of this fact.2

          A.       Performance of Uncompensated Overtime Work

          A person is employed if he or she is suffered or permitted to work. 29 U.S.C. § 203(g).

  It is not relevant why the employee performed the work or whether the employer asked the

  employee to perform the work. See id.; 29 C.F.R. § 785.11. Although a FLSA plaintiff bears the

  burden of proving that he or she worked overtime without compensation, “[t]he remedial nature

  of this statute and the great public policy which it embodies ... militate against making that

  burden an impossible hurdle for the employee.”                  Anderson, 328 U.S. at 387. “[I]t is the

  employer's duty to keep records of the employee's wages, hours, and other conditions and


          2
             The burden-shifting analysis in Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680 (1946) is not relevant
  to the inquiry of whether Defendants violated the terms of the FLSA in regards to Plaintiff’s employment. Anderson
  directs that courts adopt a lower standard of proof in regards to a plaintiff’s claims for damages under the FLSA
  when a defendant’s records are inaccurate and the plaintiff cannot offer convincing substitutes. See 328 U.S. at 687.
  It does not alter a plaintiff’s burden to demonstrate that a defendant violated the FLSA, however. See Debose v.
  Broward Health, No. 08-61411, 2009 WL 4884535, at *13 (S.D. Fla. Dec. 17, 2009) (“The holding of Anderson
  addresses the degree of certainty with which an FLSA plaintiff must prove his damages.”); Santelices v. Cable
  Wiring, 147 F.Supp.2d 1313, 1329 (S.D. Fla. 2001) (“[A]lthough the Supreme Court established a standard for
  awarding damages when the evidence of damages is inexact or imprecise, it did not eliminate the employee's burden
  to prove that he has in fact performed work for which he was not paid.”).


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  practices of employment. Id. To survive summary judgment Plaintiff must demonstrate a

  genuine issue of fact as to whether Defendants’ records are accurate. Based on the record,

  Plaintiff has failed to demonstrate she worked overtime hours for which she was not

  compensated.

           There is no reasonable basis to question the accuracy of Defendants’ records. They

  establish (1) what hours Plaintiff worked, (2) for which weeks, and (3) the rates Plaintiff was

  compensated for her work. Thus, the records are “proper and accurate.” See e.g., Solano v. A.

  Navas Party Prod., Inc., 728 F. Supp. 2d 1334, 1343 (S.D. Fla. 2010). Plaintiff has not produced

  any persuasive facts to support her claim that she worked through her meal breaks.                               She

  maintained no records of her missed meal breaks. She relies on the assertion that her supervisors

  “knew” she worked through her meal breaks, although she admits she never told a supervisor or

  anyone at the hospital she did so. No supervisor or nurse corroborated Plaintiff’s claim that she

  never took meal breaks. Plaintiff also relies on a post-deposition declaration stating she was

  required to write down the times she took meal breaks for the proposition that Defendants

  wrongfully deducted 30 minutes from her time clock. This testimony, however, is at odds with

  her testimony given in her deposition, and therefore, it is stricken from the record. See Van T.

  Junkins & Assocs., Inc. v. U.S. Indus.., Inc., 736 F.2d 656, 656 (11th Cir. 1984) (holding district

  court properly found a plaintiff’s affidavit in opposition to summary judgment, which

  contradicted his earlier deposition testimony, was sham).3 What the Court is left with, then, is


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              Plaintiff submitted a declaration in support of her response in opposition to Defendants’ motion for
  summary judgment that is riddled with inconsistencies when compared to her deposition testimony. In her
  deposition she testifies she never took a meal break; in her declaration she testifies she was interrupted by a
  supervisor when she attempt to take meal breaks. In her deposition she never mentioned she was required to write
  down her meal break start and stop times; in her declaration she states she was required to do so. (Moreover, absent
  testimony Plaintiff provided a list of her meal breaks to Defendants, this claim is flawed.) In her deposition,
  Plaintiff had little recollection of what was discussed during orientation; in her declaration Plaintiff avers she was
  not shown the Power Point presentation and was given express instructions regarding time clock adjustments.
  Plaintiff may not attempt to create a genuine issue of material fact with a declaration that contradicts, without

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  Plaintiff’s lone and unsubstantiated assertion that her supervisors knew she skipped her meal

  breaks as evidence that Plaintiff did, in fact, skip her meal breaks and Defendants’ time records

  were inaccurate. “[U]nder the FLSA, the employee bears the burden to show that his or her

  mealtimes were compensable work.” Hertz, 566 F.3d at 784. Plaintiff was in the best position to

  prove she worked during her mealtime; “[t]o require . . . [Defendants] to prove a negative—that

  an employee was not performing ‘work’ during a time reserved for meals—would perversely

  incentivize employers to keep closer tabs on employees . . . .” Id. The totality of credible

  evidence fails to establish that Plaintiff performed overtime work for which she was not paid.

  Accordingly, her FLSA claim fails.

          B.       Defendants’ Actual or Constructive Knowledge

          Even if Plaintiff could prove she did work through her meal breaks, she has failed to

  demonstrate Defendants had actual or constructive knowledge of such work.                               When an

  “employee fails to notify the employer . . . of the overtime work, the employer’s failure to pay

  for the overtime hours is not [an FLSA] violation.” Debose, 2009 WL 4884535, at *11 (citing

  Newton v. City of Henderson, 47 F.3d 746 (5th Cir. 1995)). If, as here, an employer adopts a

  reasonable process for an employee to report overtime, “the employer is not liable for non-

  payment if the employee fails to follow the established process.” White, 699 F.3d at 876. This

  “prevents the employer from knowing its obligation to compensate the employee and thwarts the

  employer’s ability to comply with the FLSA.” Id.; see Forrester v. Roth's I.G.A. Foodliner, Inc.,

  646 F.2d 413, 414–15 (9th Cir.1981).




  explanation, her prior testimony. See Van T. Junkins & Assocs., Inc., 736 F.2d at 657. Plaintiff provided no
  explanation for her contradictions, and therefore, her declaration is stricken from the record. See White v. Baptist
  Mem’l Health Care Corp., 699 F.3d 869, 873 (6th Cir. 2012) (affirming district court’s decision to strike
  contradictory post-deposition declaration without explanation as to its inconsistencies).


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          To be clear, the issue here is not whether Defendants “could have known [Plaintiff] was

  working overtime hours,” but “whether [they] should have known.” Newton, 47 F.3d at 749.

  The relevant knowledge is not “‘I know that the employee was working,’ but ‘I know the

  employee was working and not reporting his time.’” White, 699 F.3d 869 (citing Forrester v.

  Roth’s I.G.A. Foodliner, Inc., 646 F.2d 413, 414 (9th Cir. 1981)). Automatic meal break

  deduction systems, like the one utilized by Defendants, are lawful under the FLSA. See id. at

  873; Debose, , 2009 WL 4884535, at *2. Thus, Plaintiff must show that there is a triable issue of

  fact as to whether Defendants knew or should have known she worked through her meal breaks

  without pay. Plaintiff fails in this respect.

          First, Plaintiff fails to show Defendants had actual knowledge of her unpaid overtime.

  Plaintiff concedes she knew she was supposed to be paid for time spent working through meal

  breaks; yet, she did not notify anyone she was not compensated. Cf. Allen, 495 F.3d at 1318–19

  (court found triable issue of fact as to whether a defendant had actual knowledge when the

  plaintiffs testified they notified their supervisors that they worked overtime and did not receive

  pay). While Plaintiff contends she did not know that the Form was to be used to report time

  worked during meal breaks, she signed a document stating she understood the meal policy and

  that she had to obtain approval from a supervisor to receive compensation for such time worked.

  Any argument that the Form was confusing and presented a burden to receiving adjusted

  compensation for time worked is moot. Plaintiff used the Form twelve times during the course

  of her employment for time clock adjustments and was compensated accordingly.          Therefore,

  Plaintiff fails to demonstrate Defendants had actual notice that she worked through meal breaks

  without compensation.




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         Second, Plaintiff fails to show Defendants had constructive knowledge of her unpaid

  overtime. “An employer is said to have constructive knowledge of its employee's overtime work

  when it has reason to believe that its employee is working beyond his shift. The employer's

  knowledge is measured in accordance with [its] duty . . . to inquire into the conditions prevailing

  in his business.” Allen, 495 F.3d at 1319. While an employer “does not rid himself of that duty

  because of the extent of the business may preclude his personal supervision,” Reich v. Dep’t of

  Conservation & Nat’l Res., 28 F.3d 1076, 1082 (11th Cir. 1984), “[a]n employer must have an

  opportunity to comply with the provisions of the FLSA.” Forrester, 646 F.2d at 414–15. Thus,

  an employee’s failure to notify an employer of her overtime work renders the employer’s failure

  to pay overtime compensation non-actionable. See Newton, 47 F.3d at 746.

         While Plaintiff did not notify Defendants she worked through meal breaks, she claims

  Defendants should have known because her supervisors must have known based on her activities

  at work. This argument has been squarely rejected by courts. See Hertz, 566 F.3d at 783

  (“Access to records indicating that employees were working overtime, however, is not

  necessarily sufficient to establish constructive knowledge.”); Newton, 47 F.3d at 749 (holding

  that knowledge of the plaintiff’s activities, alone, was insufficient to attribute constructive

  knowledge to the defendant that the plaintiff worked through meal breaks). Even if Plaintiff

  could establish her supervisors knew that she worked through meal breaks, that, by itself, is

  insufficient to credit Defendants with knowledge that she did so without pay. See Gaylord v.

  Miami-Dade Cnty., 78 F. Supp. 2d 1320, 1325 (S.D. Fla. 1999) (granting summary judgment to

  employer where it had “no independent means of knowing” how the plaintiff spent time he was

  not claiming as compensable). Like Newton, Defendants had specific procedures for Plaintiff to

  follow in order to be paid overtime, and she ignored those procedures. As the court stated:



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          If we were to hold that the City had constructive knowledge that [the officer] was
          working overtime because [his City supervisor] had the ability to investigate
          whether or not [the officer] was truthfully filling out the City's payroll forms, we
          would essentially be stating that the City did not have the right to require an
          employee to adhere to its procedures for claiming overtime.

   Newton, 47 F.3d at 749.

          Moreover, Plaintiff points to no evidence that the Hospital discouraged or prevented

   employees from utilizing Time Clock Adjustment Forms to report time worked during their meal

   breaks. See Brennan v. Gen. Motors Acceptance Corp., 482 F.2d 825, 827 (5th Cir. 1973) (court

   found constructive knowledge where the supervisors pressured employees to understate their

   hours); See Allen, 495 F.3d at 1322 (finding there was genuine dispute of material fact as to

   whether an employer should have known of plaintiffs’ uncompensated overtime work where

   plaintiffs testified that the employer instructed plaintiffs to falsely time sheets). To the contrary,

   Plaintiff completed twelve Forms and was paid all twelve times.

          Based on the evidence presented, Plaintiff does not show that Defendants should have

   known she worked through meal breaks without pay. Plaintiff did not notify Defendants she was

   not paid for her time worked. Mere access to Plaintiff’s records or knowledge of her supervisors

   is not enough. “It would not be reasonable to require that [Defendants] weed through . . . records

   to determine whether or not its employees were working beyond their scheduled hours. This is

   particularly true given the fact that [Defendants have] an established procedure for overtime

   claims that [Plaintiff] regularly used.” Hertz, 566 F.3d at 783. Therefore, the Court holds that

   Defendants are entitled to summary judgment on Plaintiff’s claim for unpaid overtime.

   IV.    Conclusion

          The Court has carefully considered the motion, response, reply, applicable law, and

   pertinent portions of the record. For the foregoing reasons, it is hereby



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          ORDERED AND ADJUDGED that Defendants’ motion for summary judgment [DE

   42] is GRANTED. Final judgment in favor of Defendants will be entered by separate order.

          DONE AND ORDERED in Chambers at West Palm Beach, Florida this 4 day of

   November, 2013.


                                                     /s/ Kenneth L. Ryskamp
                                                     KENNETH L. RYSKAMP
                                                     UNITED STATES DISTRICT JUDGE




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